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                                         THE CITY OF NEW YORK
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                                                                     March 29, 2018

       Honorable Brian M. Cogan
       United States District Judge
       Eastern District of New York
       225 East Cadman Plaza
       Brooklyn, NY 11201

                      Re: Lehman v. Titterton, et al., 18-CV-914 (BMC) (LB)

       Your Honor:

                     I am an attorney in the Office of Zachary W. Carter, Corporation Counsel of the
       City of New York, and one of the attorneys representing Defendant Brian Titterton in the above-
       referenced matter. Defendant writes to respectfully request a pre-motion conference concerning
       his proposed motion to dismiss Plaintiff’s complaint (“Complaint”) pursuant to Fed. R. Civ. P.
       12(b)(6).
           I. BACKGROUND
                       Plaintiff brings this action under 42 U.S.C. § 1983, alleging that Defendant and
       his fellow New York City Police Department (“NYPD”) officer, Francisco Maria, entered his
       apartment “without consent and without a warrant or court order” in violation of the Fourth
       Amendment. (See Compl. at ¶¶ 3-8, 13-15 (ECF No. 1).) According to the Complaint, on
       February 13, 2015, the officers entered Plaintiff’s apartment and remained there for two hours
       despite Plaintiff’s admonition that they did not have permission to be there. (See id. at ¶¶ 3-5.)
       The Complaint further alleges that Plaintiff “filed a complaint with the Civilian Complaint
       Review Board (“CCRB”) under case number 201508312,” and that the CCRB found that Officer
       Maria “abused his authority by unlawfully entering Plaintiff’s apartment.” (See id. at ¶¶ 6-7.)
       The CCRB “made no findings against [Defendant] because he resigned [from the NYPD] after
       the charges were filed.” (See id. at ¶ 8.)
                      Plaintiff made a complaint to the CCRB on October 1, 2015, alleging, inter alia,
       that the officers abused their authority by entering the martial apartment of Plaintiff and his
       separated wife, Patricia Lehman, which was located at 47-39 Vernon Boulevard, Apartment 3R,
       in Queens (the “Apartment”).          (See CCRB Investigative Recommendation (“CCRB
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Investigation”)), at p. 1, 3-4 (attached hereto as Exhibit A).) The CCRB’s Investigation made
the following determinations:
                  On February 13, 2015, Ms. Lehman requested and secured the assistance of the
officers in retrieving her belongings from the Apartment. (See CCRB Investigation at p. 1.) At
the time, Ms. Lehman was married to Plaintiff and retained a set of keys to the Apartment. (See
id. at p. 3; 12/1/15 Affidavit of Patricia Lehman, attached hereto as Exhibit B.) Ms. Lehman
also had an active order of protection against Plaintiff, as a result of Plaintiff’s arrest the previous
day for assaulting and harassing Ms. Lehman on February 2, 2015. (See CCRB Investigation at
p. 1.) The NYPD’s “Complaint Report” for the February 2, 2015 incident listed the Apartment
as Ms. Lehman’s residence, as did Ms. Lehman’s identifications. (See id. at 3.) Upon arriving at
the Apartment along with Ms. Lehman, the officers knocked on the door. (See id.) Moments
later, the officers and Ms. Lehman gained entry either by Plaintiff opening the door or by Ms.
Lehman using her keys to open the door. (See id.) Plaintiff either told the officers to leave or
that he “did not want this.” (See id.) The officers, however, remained in the Apartment as Ms.
Lehman gathered her belongings under their belief that it was Ms. Lehman’s residence. (See id.)
The officers’ belief was informed by Ms. Lehman’s possession of keys and the February 2, 2015
Complaint Report, which listed the Apartment as Ms. Lehman’s residence. (See id.) The CCRB
concluded that Officer Maria had abused his authority by entering the Apartment. (See id. at 1.)
No finding was made as to Defendant due to his separation from the NYPD prior to the
conclusion of the CCRB Investigation. (See id. at 1.)
   II. ARGUMENT
                Plaintiff’s Complaint fails to state a claim upon which relief can be granted. Ms.
Lehman possessed the requisite authority to consent to Defendant’s entry into the Apartment.
Moreover, due to Ms. Lehman’s status as a domestic violence victim, Plaintiff’s objection to the
officers’ entry did not render the entry unlawful.
               A. THE COURT MAY CONSIDER THE CCRB INVESTIGATION.
               On a motion to dismiss, the Court may consider documents annexed to the
complaint or incorporated by reference into the complaint. Int’l Audiotext Network, Inc. v. Am.
Tel. & Tel. Co., 62 F.3d 69, 72 (2d Cir. 1995) (per curiam). Furthermore, “even where a
document is not incorporated by reference, the court may nevertheless consider it where the
complaint relies heavily upon its terms and effect, which renders the document integral to the
complaint.” Chambers v. Time Warner, 282 F.3d 147, 153 (2d Cir. 2002). Here, the CCRB
Investigation is unambiguously referenced and discussed in the Complaint, and therefore,
incorporated by reference. (See Compl. at ¶¶ 6-8.) See Plains Mktg., L.P. v. Kuhn, 10-cv-2520,
2011 U.S. Dist. LEXIS 119427, at *7 (E.D.N.Y. Oct. 17, 2011) (“To be incorporated by
reference, the complaint must make a clear, definite and substantial reference to the
documents.”) Even if it were not incorporated by reference, the CCRB Investigation is integral
to the Complaint, as Plaintiff “relies heavily upon its terms and effect.” The Complaint spends
little time contextualizing the officers’ entry into the Apartment. It, perhaps strategically,
contains no facts whatsoever pertaining to Ms. Lehman’s accompaniment of the officers to the
Apartment, let alone her possession of a set of keys to the Apartment and previous domestic
violence complaint against Plaintiff. Rather, the Complaint refers to the CCRB Investigation,
suggesting to the Court that it should rely upon the CCRB’s factual findings and legal analysis.
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(See id. at ¶¶ 6-8.) As such, the CCRB Investigation may be considered in Defendant’s motion
to dismiss.
                     B. MS. LEHMAN CONSENTED                      TO     THE     OFFICERS’ ENTRY INTO       THE
                        APARTMENT.
                In the Second Circuit, third party consent will validate a warrantless entry only if
(1) the third party had access to the area entered and (2) the third party had either (a) common
authority over the area or (b) a substantial interest in the area or (c) permission to gain access.
See United States v. Davis, 967 F.2d 84, 87 (2d Cir. 1992). “Common authority” is defined as
“mutual use of the property by persons generally having joint access or control for most
purposes.” See United States v. Matlock, 415 U.S. 164, 172 n. 7 (1974). As to the first prong,
Ms. Lehman’s access to the Apartment is established by the fact that she maintained a set of
keys. See United States v. Buettner-Janusch, 646 F.2d 759, 765 (2d Cir. 1981) (“[B]oth Marcis
and Jolly had keys to the defendant’s apartment, thus satisfying the access requirement…”).
Regarding the second prong, Ms. Lehman’s “common authority” over the Apartment is shown
by her status as Plaintiff’s spouse, possession of keys to the Apartment, and keeping of her
personal belongings in the Apartment. See United States v. Trzaska, 859 F.2d 1118, 1120 (2d
Cir. 1988) (common authority established by estranged wife’s possession of keys and collection
of personal belongings during search). Moreover, assuming arguendo that Ms. Lehman lacked
the authority to consent to entry of the Apartment, the entry was nonetheless valid because Ms.
Lehman possessed “apparent authority,” meaning that the officers reasonably believed that she
had the requisite authority. See Illinois v. Rodriguez, 497 U.S. 177, 188 (1990). Not only did
Ms. Lehman possess keys and inform the officers that she intended to collect personal
belongings from the Apartment, but Ms. Lehman listed the Apartment as her residence on the
Complaint Report and her personal identifications. Moreover, federal courts have found that
even a live-in girlfriend “retain[s] rights over property they are forced to flee” and, therefore,
possess apparently authority over a formerly-shared dwelling. See, e.g., United States v. Turner,
23 F. Supp.3d 290, 306 (S.D.N.Y. 2014). Ms. Lehman, therefore, provided valid consent for the
officers’ entry.1
                     C. PLAINTIFF’S OBJECTION DOES NOT RENDER                             THE   OFFICERS’ SEARCH
                        UNLAWFUL.
               An occupant’s express refusal to permit entry “does not negate exigent
circumstances to assist a suspected domestic violence victim.” See Patrizio v. Nelson, 14-CV-
7497 (JBW) (VMS), 2016 U.S. Dist. LEXIS 83891, at *21-25 (E.D.N.Y. June 28, 2016). As the
Supreme Court stated in Georgia v. Randolph, 547 U.S. 103, 106 (2008), “it would be silly to
suggest that the police would commit a tort by entering, say, to give a complaining tenant the
opportunity to collect belongings and get out safely… however much a spouse or other co-tenant
objected.” Here, the officers entered the apartment under the exact circumstances contemplated
in Randolph: to protect Ms. Lehman, a domestic violence victim, as she collected her belongings.
As such, the officer’s entry of the Apartment was lawful in spite of Plaintiff’s objection.
              Based on the forgoing, the Court should grant Defendant’s request for a pre-
motion conference regarding Defendant’s anticipated motion to dismiss the Complaint.



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    At the very least Defendant is entitled to qualified immunity on this set of facts.
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                                        Respectfully submitted,

                                               /s/

                                         JOSHUA A. WEINER
                                        Senior Counsel
                                        Special Federal Litigation Division


cc:   Brian Lehman, Esq. (by ECF)
